      Case 1:10-cv-02030-WWC Document 6 Filed 03/10/11 Page 1 of 1




                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

_______________________________
ROBIN MCKINNISS                 )
                                )                    Case Number: 1:cv-10-2030
            Plaintiff           )
                                )
            vs.                 )
                                )
GC SERVICES, LP                 )
                                )
            Defendant           )
_______________________________)


                               NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, Robin McKinniss, pursuant to Rule

41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the action

captioned above, with prejudice.




                              BY:_/s/ Brent F. Vullings
                                     Brent F. Vullings, Esquire
                                     Attorney for Plaintiff
                                     Attorney I.D. #92344
                                     Warren & Vullings, LLP
                                     93 Old York Road
                                     Jenkintown, PA 19046
                                     215-745-9800
